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                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                    DOC #:
SOUTHERN DISTRICT OF NEW YORK                                   DATE FILED:1/11/2021
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 UNITED STATES OF AMERICA                                     :
                                                              : 20-CR-667 (VEC)
                 -against-                                    :
                                                              :     ORDER
 CARL WILBRIGHT,                                              :
 TRAVIS BRECONIDGE,                                           :
 QUASHAWN ESCALERA,                                           :
 ISAIAH FREEMAN,                                              :
 LUIS GARCIA,                                                 :
 RICARDO GARCIA,                                              :
 STANLEY HAMPTON,                                             :
 JAMEL MURRAY,                                                :
                                                              :
                                          Defendants.         :
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VALERIE CAPRONI, United States District Judge:

      WHEREAS an initial conference was held on January 11, 2021;

      IT IS HEREBY ORDERED THAT:

        1. The first trial in this case will begin on October 18, 2021 at 10:00 a.m. The

           second trial in this case will begin on January 24, 2022 at 10:00 a.m.

        2. A status conference will be held on April 14, 2021 at 2:30 p.m., at which point the

           Court will set a pretrial motions schedule.



SO ORDERED.
                                                   _________________________________
Date: January 11, 2021                              VALERIE CAPRONI
      New York, NY                                 United States District Judge
